    Case 2:21-cv-00534-MLCF-JVM Document 5-1 Filed 03/29/21 Page 1 of 2




                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA

ARIYAN, INC. D/B/A DISCOUNT CORNER, M.
LANGENSTEIN & SONS, INC., PRYTANIA
LIQUOR STORE, INC., WEST PRYTANIA, INC.
D/B/A PRYTANIA MAIL SERVICE/BARBARA                 CIVIL ACTION NO.: 21-534
WEST, BRITISH ANTIQUES, L.L.C./BENNET
POWELL, FINE ARTS MANAGEMENT, L.L.C.                SECTION: F
D/B/A PRYTANIA THEATRE, SUPERIOR
SEAFOOD AND OYSTER BAR, L.L.C., THE                 JUDGE: FELDMAN
MAGIC BOX, LTD. D/B/A MAGIC BOX TOYS,
MARK DEFELICE, SAVARE DEFELICE, JR.,                DIVISION: 1
ESTEFF DEFELICE, and VIRGINIA DEFELICE,
all on behalf of the entity f/k/a PASCAL-MANALE     MAGISTRATE: VAN
RESTAURANT          INC.,     ARLEN    BRUNSON,     MEERVELD
KRISTINA and BRETT DUPRE, GAIL MARIE
HATCHER, BETTY PRICE, BOJAN RISTIC,
PATSY SEARCY, HELEN GREEN, THEADA
THOMPSON, KIM ALVAREZ and ALLAN
BASIK, JOHN, JR. and JILL BOSSIER, DAVID
ENGLES, ESTATE OF LOUISE STEWART,
CATHLEEN HIGHTOWER, RUTH and LEON
HINSON, MARGARET and HARRY LECHE,
GEORGE MOULEDOUX, ELIZABETH and
WILLIAM        SEWELL,         PATRICIA    WYNN,
GERALDINE             BALONEY,           ABBRICA
CALLAGHAN, BURNELL COTLON, EIRINN
ERNY and GREGORY KOZLOWSKI, LARRY
HAMEEN, NOELLA HAYES, STEPHEN HOGAN
and FRANSISCA MEDINA-HOGAN, KEEBA and
GAYLIN MCALLISTER, CODY MYERS, AND
HEATHER WEATHERS, ELIO, CHARLOTTE,
and BENITO BRANCAFORTE, DR. JOSEPHINE
S. BROWN, RICHARD PARKE ELLIS and
NANCY ELLIS, MARK HAMRICK, DR. ROBERT
and CHARLOTTE LINK, ROSS and LAUREL
MCDIARMID,         JERRY        OSBORNE,    JACK
STOLIER, DR. WILLIAM B. TAYLOR, III,
WATSON MEMORIAL SPIRITUAL TEMPLE OF
CHRIST        D/B/A      WATSON       MEMORIAL
TEACHING MINISTRIES, GEORGE and BETH
DUESSING, DAVID EPSTEIN, FAYE LIEDER,
THOMAS        RYAN,           JUDITH    JURISICH,
DOROTHY WHITE, THOMAS and JUDITH
     Case 2:21-cv-00534-MLCF-JVM Document 5-1 Filed 03/29/21 Page 2 of 2




LOWENBURG, JOHN and LORI OCHNER,
RONALD RUIZ, ANNE LOWENBURG, SARAH A.
LOWMAN, BARBARA H. WEST, NANETTE
COLOMB, MARY and CLAY KEARNEY,
MICHAEL T. GRAY, MARK and ANNA KURT,
THE AMERICAN INSURANCE COMPANY (AS
SUBROGEE OF MARK AND ANNA KURT),
VIRGINIA CARTER STEVENS MOLONY, DAT
DOG    ENTERPRISES,    LLC,   DAT DOG
PROPERTIES, LLC, SUPERIOR BAR & GRILL,
INC., THE FRESH MARKET, INC., K&B
CORPORATION       D/B/A     RITE   AID
CORPORATION, AND 1900 & 1901 COLLIN,
L.L.C.

                        Plaintiffs,

       v.

SEWERAGE &             WATER BOARD OF NEW
ORLEANS, AND           GHASSAN KORBAN, IN HIS
CAPACITY AS            EXECUTIVE DIRECTOR OF
SEWERAGE &             WATER BOARD OF NEW
ORLEANS

                        Defendants.



                                           ORDER

       It appearing to the Court that Michael T. Whitaker has been approved to appear in this

matter pro hac vice,

       IT IS ORDERED that Michael T. Whitaker is hereby enrolled, pro hac vice, as additional

counsel of record in the above-captioned matter.

       New Orleans, Louisiana, this ___ day of ________________, 2021.



                                            ___________________________________
                                            HONORABLE MARTIN L.C. FELDMAN
                                            EASTERN DISTRICT COURT OF LOUISIANA
